          Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 1 of 51 Page ID #:822


           1     JEFFREY T. THOMAS, SBN 106409
                  JTthomas@gibsondunn.com
           2     T. KEVIN ROOSEVELT, SBN 205485
           3
                  KRoosevelt@gibsondunn.com
                 GIBSON, DUNN & CRUTCHER LLP
           4     3161 Michelson Drive
                 Irvine, California 92612-4412
           5     Telephone: (949) 451-3800
                 Facsimile: (949) 451-4220
           6

           7
                 Attorneys for Plaintiffs
                 ALLERGAN, INC. and
           8     MURRAY A. JOHNSTONE, M.D.
           9

         10                          UNITED STATES DISTRICT COURT

         11                         CENTRAL DISTRICT OF CALIFORNIA

         12                                    SOUTHERN DIVISION

         13

         14      ALLERGAN, INC., a Delaware              CASE NO. SACV07-1316 JVS (RNBx)
                 corporation, and MURRAY A.
         15      JOHNSTONE, M.D., an individual,         Honorable James V. Selna
         16                      Plaintiffs,             THIRD AMENDED COMPLAINT
         17
                                                         FOR PATENT INFRINGEMENT AND
                      v.                                 DEMAND FOR JURY TRIAL
         18
                 CAYMAN CHEMICAL COMPANY, a
         19      Colorado corporation; JAN MARINI
                 SKIN RESEARCH INC., a California
         20      corporation; ATHENA COSMETICS,
         21
                 INC., a Nevada corporation; ATHENA
                 BIOSCIENCE, LLC, a limited liability
         22      company; INTUIT BEAUTY, INC., a
                 Nevada corporation; PHOTOMEDEX,
         23      INC., a Delaware corporation; PROCYTE
                 CORPORATION, a Washington
         24      corporation; COSMETIC ALCHEMY,
         25      LLC, a limited liability company; and
                 GLOBAL MDRx, a Nevada corporation,
         26
                                 Defendants.
         27

         28

Gibson, Dunn &
Crutcher LLP
          Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 2 of 51 Page ID #:823


           1             Plaintiffs, Allergan, Inc. ("Allergan") and Murray A. Johnstone, M.D.
           2     ("Dr. Johnstone") (together "Plaintiffs"), for their Complaint against defendants,
           3     Cayman Chemical Company ("Cayman"); Jan Marini Skin Research Inc. ("Jan
           4     Marini"); Athena Cosmetics, Inc. ("Athena Cosmetics"); Athena Bioscience, LLC
           5     ("Athena Bioscience"); Intuit Beauty Inc. ("Intuit Beauty"); PhotoMedex, Inc.
           6     ("PhotoMedex"); ProCyte Corporation ("ProCyte"); Cosmetic Alchemy, LLC
           7     ("Cosmetic Alchemy"); and Global MDRx ("Global") (collectively "Defendants"),
           8     allege upon personal knowledge with respect to themselves and their own acts, and
           9     upon information and belief with respect to all other matters, as follows:
         10                                  JURISDICTION AND VENUE
         11              1.    This Court has subject matter jurisdiction over this action pursuant to 28
         12      U.S.C. §§ 1331 and 1338, in that this is a civil action for patent infringement arising
         13      under the Patent Laws of the United States, Title 35, United States Code.
         14              2.    Venue is proper in this district and division under 28 U.S.C. §§ 1391 and
         15      1400.
         16              3.    This Court has personal jurisdiction over Defendants by virtue of
         17      Defendants' marketing, promotion, offers for sale, sales and distribution of products,
         18      including the products which are the subject of this Complaint, throughout the State of
         19      California, in this District and in this Division. Defendants have also placed, and are
         20      continuing to place, products into the stream of commerce within the United States,
         21      within California, in this District and in this Division, and it is reasonable to expect
         22      that such products will continue to enter and be used by consumers in California,
         23      including in this District and in this Division. In addition, this Court has personal
         24      jurisdiction over Jan Marini by virtue of its incorporation in California.
         25                                           THE PARTIES
         26              4.    Allergan is a corporation organized and existing under the laws of the
         27      State of Delaware, with its principal place of business at 2525 Dupont Drive, Irvine,
         28      California.

Gibson, Dunn &
Crutcher LLP

                                                              1
          Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 3 of 51 Page ID #:824


           1           5.      Dr. Johnstone is an individual residing in Seattle, Washington.
           2           6.      Cayman is a corporation organized and existing under the laws of the
           3     State of Colorado, with its principal place of business at 1180 East Ellsworth Road,
           4     Ann Arbor, Michigan.
           5           7.      Jan Marini is a corporation organized and existing under the laws of the
           6     State of California, with its principal place of business at 6951 Via del Oro, San Jose,
           7     California.
           8           8.      Athena Cosmetics is a corporation organized and existing under the laws
           9     of the State of Nevada, with its principal place of business at 701 North Green Valley
         10      Parkway, Henderson, Nevada. Allergan is informed and believes and thereon alleges
         11      that Athena is the successor in interest to Athena Cosmetics Corporation.
         12            9.      Athena Bioscience is a limited liability company with its principal place
         13      of business at 22 Van Gogh Way, Coto de Caza, California.
         14            10.     Intuit Beauty is a corporation organized and existing under the laws of the
         15      State of Nevada, with its principal place of business at 1802 North Carson Street,
         16      Carson City, Nevada.
         17            11.     PhotoMedex is a corporation organized and existing under the laws of the
         18      State of Delaware, with its principal place of business at 147 Keystone Drive,
         19      Montgomeryville, Pennsylvania.
         20            12.     ProCyte is a corporation organized and existing under the laws of the state
         21      of Washington, with its principal place of business at 8511 154th Avenue N.E.,
         22      Redmond, Washington.
         23            13.     Cosmetic Alchemy is a limited liability company with its principal place
         24      of business at 21827 Scottsdale Road, Scottsdale, Arizona.
         25            14.     Global is a corporation organized and existing under the laws of the state
         26      of Nevada, with its principal place of business at 80 South Gibson Road, #2216,
         27      Henderson, Nevada.
         28

Gibson, Dunn &
Crutcher LLP

                                                             2
          Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 4 of 51 Page ID #:825


           1                                 GENERAL ALLEGATIONS
           2           15.    Allergan manufactures and sells LUMIGAN® ophthalmic solution
           3     ("Lumigan"), a medication approved by the Food and Drug Administration ("FDA") to
           4     lower intraocular eye pressure in people with open-angle glaucoma or ocular
           5     hypertension. Lumigan eye drops contain the active ingredient bimatoprost, which is
           6     in a category of compounds known as prostamides. Prostamides are related to a
           7     category of compounds known as prostaglandins ("PGs").
           8           16.    There are several different types of PGs, which are categorized by their
           9     chemical structures and are named by letters. For example, there are PGAs, PGEs,
         10      PGFs, PGIs, etc.
         11            17.    There are two other medications on the market containing PGFs that have
         12      been approved by the FDA to lower intraocular eye pressure in people with open-angle
         13      glaucoma or ocular hypertension: Xalatan and Travatan. These products have been
         14      approved by the FDA only for the treatment of glaucoma, and both require a
         15      physician's prescription before they may be sold.
         16            18.    PGs and prostamides have only been approved by the FDA for use as a
         17      prescription medicine to lower intraocular eye pressure in people with open-angle
         18      glaucoma or ocular hypertension.
         19            19.    In or around 1996, Dr. Johnstone, a glaucoma specialist, observed that
         20      patients receiving PGF-based solutions demonstrated an increase in eyelash growth.
         21      Based on this discovery, Dr. Johnstone filed a patent application claiming the use of
         22      PGFs to grow hair, and specifically eyelashes. Application No. 09/366,656 was filed
         23      in the United States Patent and Trademark Office on August 3, 1999, claiming the
         24      benefit of Provisional Application No. 60/037,237, filed on February 4, 1997.
         25            20.    On July 17, 2001, the United States Patent and Trademark Office duly and
         26      legally issued United States Patent No. 6,262,105 (the "'105 patent"), entitled "Method
         27      of Enhancing Hair Growth" to Dr. Johnstone. A true and correct copy of the '105
         28

Gibson, Dunn &
Crutcher LLP

                                                            3
          Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 5 of 51 Page ID #:826


           1     patent is attached hereto as Exhibit A. At that time, Dr. Johnstone became the sole and
           2     exclusive owner of the '105 patent.
           3           21.    On June 29, 2006, Allergan entered into a Patent License Agreement with
           4     Dr. Johnstone, which grants to Allergan the exclusive right to make, use, and vend the
           5     patented invention throughout the world. A true and correct copy of the Patent License
           6     Agreement is attached hereto as Exhibit B.
           7           22.    On January 15, 2003, Patent Application No. 10/345,788 was filed in the
           8     United States Patent and Trademark Office, claiming the benefit of Provisional
           9     Application No. 60/354,425, filed on February 4, 2002.
         10            23.    On April 1, 2008, the United States Patent and Trademark Office duly and
         11      legally issued United States Patent No. 7,351,404 (the "'404 patent"). A true and
         12      correct copy of the '404 patent is attached hereto as Exhibit C. Allergan is the sole
         13      assignee of the '404 patent.
         14            24.    Defendants Jan Marini, Athena Cosmetics, Athena Bioscience, Intuit
         15      Beauty, PhotoMedex, ProCyte, Cosmetic Alchemy and Global have been marketing
         16      and selling eyelash growth products with prostamides and/or PGFs as the active
         17      ingredient. For example, Intuit Beauty is marketing, promoting and selling products
         18      named Massive Lash and Enormous Lash; Athena Cosmetics is marketing, promoting
         19      and selling a product named RevitaLash; Athena Bioscience is marketing, promoting
         20      and selling a product named Athena Lash Serum; Jan Marini is marketing, promoting
         21      and selling a product named Age Intervention; PhotoMedex and ProCyte are
         22      marketing, promoting and selling a product called MD Lash Factor; Cosmetic
         23      Alchemy is marketing, promoting and selling a product called LiLash; and Global is
         24      marketing, promoting and selling a product named visiLASH.
         25            25.    Cayman manufactures and sells prostamides and PGs, including PGFs, to
         26      others for use in their eyelash growth products, and specifically promotes the use of
         27      such compounds in eyelash growth products through marketing.
         28

Gibson, Dunn &
Crutcher LLP

                                                              4
          Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 6 of 51 Page ID #:827


           1           26.       In violation of federal laws regulating the manufacture and sale of
           2     prescription medicines, Defendants are manufacturing and selling these products
           3     without FDA approval and/or without requiring a prescription.
           4           27.       Purchasers of defendants' products directly infringe the '105 and the '404
           5     patents by using those products in a manner described by the claims of the '105 and the
           6     '404 patents.
           7           28.       Defendants encourage the direct infringement of the '105 and the '404
           8     patents. Defendants (other than Cayman) develop, market, promote and sell products
           9     for eyelash growth with prostamides and/or PGFs as an ingredient, and promote their
         10      products for use in a manner covered by the claims of the '105 and the '404 patents and
         11      provide instructions for use of those products in a manner that directly infringes the
         12      '105 and the '404 patents. Defendants (other than Cayman) do so with the knowledge
         13      of the existence of the '105 and the '404 patents and with the knowledge and intent that
         14      their products will be used by consumers in a manner that directly infringes the '105
         15      patent and/or the '404 patent.
         16            29.       Cayman manufactures, markets, promotes and sells prostamides and PGFs
         17      to others, including Defendants, for use in eyelash growth products. Cayman promotes
         18      the use of PGF in a manner covered by the claims of the '105 and the '404 patents.
         19      Cayman does so with the knowledge of the existence of the '105 and the '404 patents
         20      and with the knowledge and intent that the products they manufacture and sell will be
         21      the active ingredient in products that will be used by consumers in a directly infringing
         22      manner.
         23            30.       The eyelash growth products sold by Defendants (other than Cayman)
         24      have no substantial noninfringing use.
         25            31.       Cayman sells PGFs and prostamides to customers that Cayman knows are
         26      making, promoting and selling eyelash growth products that contain the Cayman
         27      products. Cayman further knows that those eyelash growth products cannot be used in
         28      any substantial way that does not infringe the '105 patent and/or the '404 patent.

Gibson, Dunn &
Crutcher LLP

                                                               5
          Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 7 of 51 Page ID #:828


           1     Plaintiffs are further informed and believe that some or all of the ingredients Cayman
           2     sells to companies who manufacture and sell eyelash growth products have no
           3     substantial noninfringing use.
           4           32.    Defendants recklessly disregard the '105 patent in their development,
           5     marketing, promotion and sale of eyelash growth products with prostamides and/or
           6     PGFs as an ingredient (and in the case of Cayman, by supplying others with
           7     prostamides and PGFs for use in eyelash growth products and promoting the use of
           8     PGFs in such products). Defendants proceed despite an objectively high likelihood
           9     that their actions contribute to and induce infringement of the '105 patent. All
         10      Defendants either know or should know that their actions risk infringement of the '105
         11      patent.
         12                                  FIRST CLAIM FOR RELIEF
         13                  (Patent Infringement – United States Patent No. 6,262,105 –
         14                                       Against All Defendants)
         15            33.    Plaintiffs repeat and incorporate by reference the allegations in
         16      paragraphs 1 through 32 above, as if fully set forth herein.
         17            34.    In violation of 35 U.S.C. § 271(b), Defendants have actively induced the
         18      infringement of one or more claims of the '105 patent.
         19            35.    In violation of 35 U.S.C. § 271(c), Defendants have contributed to the
         20      infringement of one or more claims of the '105 patent.
         21            36.    The infringement of the '105 patent by Defendants has been willful and
         22      wanton.
         23            37.    Allergan and Dr. Johnstone have suffered and will continue to suffer
         24      serious irreparable injury unless Defendants' infringement of the '105 patent is
         25      enjoined.
         26

         27

         28

Gibson, Dunn &
Crutcher LLP

                                                             6
          Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 8 of 51 Page ID #:829


           1                               SECOND CLAIM FOR RELIEF
           2                 (Patent Infringement – United States Patent No. 7,351,404 –
           3                       Against Defendants Cayman, Athena Cosmetics,
           4                               PhotoMedex, ProCyte and Global)
           5           38.    Plaintiffs repeat and incorporate by reference the allegations in
           6     paragraphs 1 through 32 above, as if fully set forth herein.
           7           39.    In violation of 35 U.S.C. § 271(b), all Defendants except Jan Marini,
           8     Intuit Beauty, Athena Bioscience, and Cosmetic Alchemy have actively induced the
           9     infringement of one or more claims of the '404 patent.
         10            40.    In violation of 35 U.S.C. § 271(c), all Defendants except Jan Marini,
         11      Intuit Beauty, Athena Bioscience, and Cosmetic Alchemy have contributed to the
         12      infringement of one or more claims of the '404 patent.
         13            41.    Allergan has suffered and will continue to suffer serious irreparable injury
         14      unless Defendants' infringement of the '404 patent is enjoined.
         15                                     PRAYER FOR RELIEF
         16            WHEREFORE, Allergan and Dr. Johnstone respectfully requests that this Court
         17      enter judgment in their favor and against Defendants and grant the following relief:
         18            A.     A judgment that Defendants have induced the infringement of the '105
         19      patent in violation of 35 U.S.C. § 271(b);
         20            B.     A judgment that Defendants have contributed to the infringement of the
         21      '105 patent in violation of 35 U.S.C. § 271(c);
         22            C.     A judgment that Cayman, Athena Cosmetics, PhotoMedex, ProCyte and
         23      Global have induced the infringement of the '404 patent in violation of 35 U.S.C.
         24      § 271(b);
         25            D.     A judgment that Cayman, Athena Cosmetics, PhotoMedex, ProCyte and
         26      Global have contributed to the infringement of the '404 patent in violation of 35 U.S.C.
         27      § 271(c):
         28

Gibson, Dunn &
Crutcher LLP

                                                              7
          Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 9 of 51 Page ID #:830


           1           E.     A judgment that Defendants' infringement of the '105 patent has been
           2     willful and wanton;
           3           F.     A preliminary and permanent injunction, pursuant to 35 U.S.C. § 283,
           4     enjoining Defendants, and all persons in active concert or participation with
           5     Defendants, from any further acts of infringement, inducement of infringement, or
           6     contributory infringement of the '105 patent;
           7           G.     A preliminary and permanent injunction, pursuant to 35 U.S.C. § 283,
           8     enjoining Cayman, Athena Cosmetics, PhotoMedex, ProCyte and Global, and all
           9     persons in active concert or participation with Cayman, Jan Marini, Athena Cosmetics,
         10      PhotoMedex, ProCyte and Global, from any further acts of infringement, inducement
         11      of infringement, or contributory infringement of the '404 patent;
         12            H.     An order, pursuant to 35 U.S.C. § 284, awarding Allergan and
         13      Dr. Johnstone damages adequate to compensate Allergan and Dr. Johnstone for
         14      Defendants' infringement of the '105 patent, in an amount to be determined at trial, but
         15      in no event less than a reasonable royalty;
         16            I.     An order, pursuant to 35 U.S.C. § 284, awarding Allergan damages
         17      adequate to compensate Allergan for Cayman, Athena Cosmetics, PhotoMedex,
         18      ProCyte and Global's infringement of the '404 patent, in an amount to be determined at
         19      trial, but in no event less than a reasonable royalty;
         20            J.     An order, pursuant to 35 U.S.C. § 284, and based on Defendants' willful
         21      and wanton infringement of the '105 patent, trebling all damages awarded to Allergan
         22      and Dr. Johnstone under the '105 patent;
         23            K.     An order, pursuant to 35 U.S.C. § 284, awarding to Allergan and
         24      Dr. Johnstone interest on the damages and their costs incurred in this action;
         25            L.     An order, pursuant to 35 U.S.C. § 285, finding that this is an exceptional
         26      case and awarding to Allergan and Dr. Johnstone their reasonable attorneys' fees
         27      incurred in this action; and
         28

Gibson, Dunn &
Crutcher LLP

                                                               8
         Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 10 of 51 Page ID #:831


           1             M.        Such other and further relief as this Court may deem just and proper.
           2     Dated: May 15, 2008
                                                            JEFFREY T. THOMAS
           3                                                T. KEVIN ROOSEVELT
           4                                                GIBSON, DUNN & CRUTCHER LLP

           5

           6                                                By: /s/Jeffrey T. Thomas
                                                                            Jeffrey T. Thomas
           7
                                                            Attorneys for Plaintiffs
           8                                                ALLERGAN, INC. and MURRAY A.
           9
                                                            JOHNSTONE, M.D.
                 100424611_1.DOC
         10

         11

         12

         13

         14

         15

         16

         17

         18

         19

         20

         21

         22

         23

         24

         25

         26

         27

         28

Gibson, Dunn &
Crutcher LLP

                                                                 9
         Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 11 of 51 Page ID #:832


           1                                  DEMAND FOR JURY TRIAL
           2             Allergan demands trial by jury on all issues and causes of action properly tried
           3     to a jury, pursuant to Federal Rule of Civil Procedure 38.
           4     Dated: May 15, 2008
                                                         JEFFREY T. THOMAS
           5                                             T. KEVIN ROOSEVELT
           6                                             GIBSON, DUNN & CRUTCHER LLP

           7

           8                                             By: /s/Jeffrey T. Thomas
                                                                         Jeffrey T. Thomas
           9
                                                         Attorneys for Plaintiffs
         10                                              ALLERGAN, INC. and MURRAY A.
         11
                                                         JOHNSTONE, M.D.
                 100424611_1.DOC
         12

         13

         14

         15

         16

         17

         18

         19

         20

         21

         22

         23

         24

         25

         26

         27

         28

Gibson, Dunn &
Crutcher LLP

                                                             10
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 12 of 51 Page ID #:833
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 13 of 51 Page ID #:834
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 14 of 51 Page ID #:835
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 15 of 51 Page ID #:836
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 16 of 51 Page ID #:837
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 17 of 51 Page ID #:838
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 18 of 51 Page ID #:839
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 19 of 51 Page ID #:840
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 20 of 51 Page ID #:841
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 21 of 51 Page ID #:842
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 22 of 51 Page ID #:843
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 23 of 51 Page ID #:844
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 24 of 51 Page ID #:845
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 25 of 51 Page ID #:846
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 26 of 51 Page ID #:847
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 27 of 51 Page ID #:848
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 28 of 51 Page ID #:849
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 29 of 51 Page ID #:850
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 30 of 51 Page ID #:851
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 31 of 51 Page ID #:852
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 32 of 51 Page ID #:853
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 33 of 51 Page ID #:854
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 34 of 51 Page ID #:855
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 35 of 51 Page ID #:856
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 36 of 51 Page ID #:857
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 37 of 51 Page ID #:858
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 38 of 51 Page ID #:859
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 39 of 51 Page ID #:860
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 40 of 51 Page ID #:861
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 41 of 51 Page ID #:862
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 42 of 51 Page ID #:863
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 43 of 51 Page ID #:864
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 44 of 51 Page ID #:865
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 45 of 51 Page ID #:866
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 46 of 51 Page ID #:867
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 47 of 51 Page ID #:868
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 48 of 51 Page ID #:869
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 49 of 51 Page ID #:870
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 50 of 51 Page ID #:871
Case 8:07-cv-01316-JVS-RNB Document 90 Filed 05/15/08 Page 51 of 51 Page ID #:872
